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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION



 LONE STAR TECHNOLOGICAL                      §
 INNOVATIONS, LLC,                            §
                                              §
        Plaintiff,                            §    Civil Action No.
                                              §
                v.                            §
                                                   JURY TRIAL DEMANDED
                                              §
 ASUSTEK COMPUTER INC.                        §
 AND ASUS COMPUTER                            §
 INTERNATIONAL                                §
                                              §
        Defendants.                           §



                       COMPLAINT FOR PATENT INFRINGEMENT

      Lone Star Technological Innovations, LLC (“Lone Star” or “Plaintiff”), by and through its

attorneys, for its Complaint against Defendants ASUSTeK Computer Inc. and ASUS Computer

Intenational, Inc. (“ASUS” or “Defendant”), hereby alleges as follows:

                              I.      NATURE OF THE ACTION

       1.      This is a patent infringement action to end Defendants unauthorized and infringing

manufacture, use, sale, offering for sale, and/or importation of methods and products incorporating

Plaintiff’s patented inventions.

       2.      Lone Star is owner of all right, title, and interest in and to United States Patent No.

6,724,435 (the “’435 Patent”), issued April 20, 2004, for “Method For Independently Controlling

Hue or Saturation of Individual Colors in a Real Time Digital Video Image.”
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       3.      Lone Star is owner of all right, title, and interest in and to United States Patent No.

6,122,012 (the “’012 Patent”), issued September 19, 2000, for “Method of Selective Control of

Digital Video Images.”

       4.      Defendants manufactures, provides, sells, offers for sale, imports, and/or distributes

infringing products and services; and/or induces others to make and use its products and services

in an infringing manner, including its customers, who directly infringe the ’435 Patent and the

’012 Patent (“Patents-in-Suit”).

       5.      Plaintiff Lone Star seeks monetary damages and prejudgment interest for

Defendant’s past infringement of the Patents-in-Suit.

                                     II.     THE PARTIES

       6.      Plaintiff Lone Star is a limited liability company organized and existing under the

laws of the State of Texas, with its principal place of business located at 1999 Bryan Street, Suite

900, Dallas, Texas 75201.

       7.      Upon information and belief, Defendant ASUSTeK Computer Inc. is a Taiwanese

company with its principal place of business at No. 15, Li-Te Rd., Peitou, Taipei, Taiwan, R.O.C.



                             III.    JURISDICTION AND VENUE


       8.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§271, 281, 283, 284, and 285. This Court has jurisdiction

over the subject matter of this action under 28 U.S.C. §§1331 and 1338(a).

       9.      This Court has personal jurisdiction over ASUS because it has committed acts

giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over Defendant would not offend traditional notions of fair play and substantial justice
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because Defendant has established minimum contacts with the forum with respect to both general

and specific jurisdiction. Upon information and belief, Defendants transacts substantial business

in the State of Texas and this Judicial District. For example, Defendant has committed acts of

infringement in this District, by among others things, offering to sell and selling products that

infringe the asserted patents, including the accused devices as alleged herein, as well as providing

service and support to Defendant’s customers in this District.

       10.     Venue in the Eastern District of Texas is proper pursuant to 28 U.S.C. §§ 139l (b),

(c) and l400(b) because upon information and belief Defendant ASUSTek Computer Inc. is a

foreign entity; Defendant has committed acts within this judicial district giving rise to this action,

and Defendant continues to conduct business in this judicial district, including one or more acts of

selling, using, importing and/or offering for sale infringing products or providing service and

support to Defendant’s customers in this District. This district is familiar with the technology of

the Patents-in-Suit having presided over several lawsuits involving the Patents-in-Suit.

                  IV.     PLAINTIFF’S ’435 PATENT AND ‘012 PATENT

       11.     The Patents-in-Suit disclose systems and methods for controlling individual color

saturation and/or hue of a digital video input image. The ’435 Patent discloses independently

controlling hue or saturation of individual colors by identifying input image pixels requiring

adjustment and separately evaluating independent control functions for hue or saturation to form

corresponding output image pixels with the desired hue or saturation. The ’012 Patent teaches a

method of changing the saturation of an individual color in a digital video image without affecting

changes to other colors using a lookup table.

      12.      The Patents-in-Suit describe and claim specific technological improvements

including independently controlling hue or saturation of individual colors in a real time digital

video image, without affecting the hue and saturation of any other color. These improvements
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embody inventive concepts that, at the time, involved more than the mere performance of well-

understood, conventional activities known in the industry. The Patents-in-Suit describe this

technological improvement over such conventional methods, “(s)elective color control using the

just described method enables viewers of real time digital video images to do two things

currently not achievable using conventional methods of color control of real time digital video

images.” ’435 Patent, Col. 2, Lns. 31 – 34; ’012 Patent, Col. 2, Lns. 11 – 13.

        13.     Lone Star has obtained all substantial right and interest to the Patents-in-Suit,

 including all rights to recover for all past and future infringements thereof.

                                  VI.     DEFENDANT’S ACTS

        14.     Defendants manufactures, provides, sells, offers for sale, and/or distributes

infringing devices, including monitors, and/or projectors. Such devices include, but are not limited

to, ASUS PA27AC 27-inch WQHD Monitor, ASUS PA32UC 32-inch Ultra HD Monitor, ASUS

PB328Q 32-inch 2K WQHD Professional Monitor, ASUS ProArt PA328Q 32-inch 4K UHD

Professional Monitor, ASUS ProArt PA329Q 32-inch 4K UHD Professional Monitor, ASUS P3E

Portable LED Projector, and all other substantially similar products.

        15.     Based on information and belief, Defendant’s infringing devices contain hardware

 components (e.g. the display screen/output image, an internal processor and software components

 (e.g. firmware instructions) which specifically provide the ability to change the hue and/or

 saturation of an individual color in the output image. Upon information and belief, Defendant’s

 manufacture, sale, offer for sale, and/or distribution of devices that selectively change the hue

 and/or saturation of an individual color in the output image in an infringing manner directly

 infringe one or more claims of the ’435 and ’012 patents, including by way of example only claim

 17 of the ’435 patent.

        16.     Based on information and belief, Defendant has jointly infringed the Patents-in-
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Suit by directing and/or controlling other parties, including through a contractual relationship.

Upon information and belief, Defendant contracts and/or enter into agreements with other parties

concerning the operation and use of infringing devices and functionality within this jurisdiction

and elsewhere. Upon information and belief, Defendant’s contracts and agreements enable

Defendant to direct and/or control the infringing conduct of the third parties.

       17.     Defendant has had knowledge of the Patents-in-Suit at least as early as the service

of this Complaint.

       18.     With knowledge of the Patents-in-Suit, Defendant intentionally provide services

and instructions for the installation and infringing operation of infringing products (including, by

way of example, the resources, materials, and customer support available at

https://www.asus.com/us/Monitors/ to the customers of its products, who directly infringe one

of more claims of the ’435 and ’012 patents through the operation of those products as described

below). Claims directly infringed by Defendant’s customers and/or users include, by way of

example only, claim 1 of the ’435 patent and claim 1 of the ’012 patent.

       19.     Through its actions, Defendant has infringed the Patents-in-Suit and actively

promoted and/or induced others to infringe the Patents-in-Suit throughout the United States,

including by customers within the Eastern District of Texas. On information and belief, Defendant

induces its customers to infringe and contribute to the infringement of its customers by instructing

or specifying that its customers operate its accused products in a manner to change the saturation

and/or hue of individual colors through, for example, the product’s OSD (on-screen display).

Defendant’s customers directly infringe the Patents-in-Suit by following Defendant’s instructions

and technical support to operate the accused products. Defendants specify that the infringing

products operate in an infringing manner by providing manuals and customer support related to its

infringing products. Further, Defendant’s provide products, software, and hardware components
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specially configured to operate in an infringing manner, and Defendant’s customers use

Defendant’s configurations to operate Defendant’s products in an infringing manner.

       20.     Defendant, with knowledge of the Patents-in-Suit, contribute to the infringement of

the Patents-in-Suit, by having their direct and indirect customers sell, offer for sale, use, or import

its monitors, and/or projectors, including but not limited to ASUS PA27AC 27-inch WQHD

Monitor, ASUS PA32UC 32-inch Ultra HD Monitor, ASUS PB328Q 32-inch 2K WQHD

Professional Monitor, ASUS ProArt PA328Q 32-inch 4K UHD Professional Monitor, ASUS

ProArt PA329Q 32-inch 4K UHD Professional Monitor, ASUS P3E Portable LED Projector, and

all other substantially similar products, with knowledge that such products infringe the Patents-in-

Suit. Defendant’s accused devices are especially made or adapted for infringing the Patents-in-

Suit, and have no substantially non-infringing uses. For example, Defendants’ products contain

the functionality to specifically allow changes to the hue and/or saturation of an individual color

– functionality which is material to practicing the Patents- in-Suit. Based on information and belief,

this functionality has no substantially non-infringing uses.

       21.     Lone Star has been and will continue to suffer damages as a result of Defendant’s

infringing acts.

                                   COUNT ONE
                   PATENT INFRINGEMENT—U.S. PATENT NO. 6,724,435

       22.     Plaintiff Lone Star realleges and incorporates herein paragraphs 1–20.

       23.     Defendant has directly infringed the ’435 Patent.

       24.     Defendant has indirectly infringed the ’435 Patent by inducing the infringement of

the ’435 Patent and contributing to the infringement of the ’435 Patent.

       25.     Upon information and belief, Defendant has jointly infringed the ’435 Patent,

including by controlling and/or directing others to perform one or more of the claimed method
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steps.

         26.    Defendant’s aforementioned acts have caused damage to Lone Star and will

continue to do so.

                                COUNT TWO
                 PATENT INFRINGEMENT—U.S. PATENT NO. 6,122,012

         27.    Plaintiff Lone Star realleges and incorporates herein paragraphs 1–25.

         28.    Defendant has infringed the ’012 Patent.

         29.    Defendant has indirectly infringed the ’012 Patent by inducing the infringement of

the ’012 Patent and contributing to the infringement of the ’012 Patent.

         30.    Upon information and belief, Defendants have jointly infringed the ’012

Patent, including by controlling and/or directing others to perform one or more of the claimed

method steps.

         31.    Defendant’s aforementioned acts have caused damage to Lone Star and will

continue to do so.

                                     VII.    JURY DEMAND

         32.    Plaintiff Lone Star hereby demands a jury on all issues so triable.

                                VIII. REQUEST FOR RELIEF

         WHEREFORE, Plaintiff Lone Star respectfully requests that the Court:

                A.     Enter judgment that Defendant infringes one or more claims of the
                       ’435 Patent and the ‘012 Patent literally and/or under the doctrine of
                       equivalents;

                B.     Award Plaintiff Lone Star past and future damages together with
                       prejudgment and post-judgment interest to compensate for the
                       infringement by Defendant of the ’435 Patent and the ‘012 Patent in
                       accordance with 35 U.S.C. §284, and increase such award by up to
                       three times the amount found or assessed in accordance with 35
                       U.S.C. §284;

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          C.     Declare this case exceptional pursuant to 35 U.S.C. §285; and

          D.     Award Plaintiff Lone Star its costs, disbursements, attorneys’ fees,
                 and such further and additional relief as is deemed appropriate by
                 this Court.

                                                  Respectfully submitted,

   Dated: February 20, 2019                       By: _/s/ William M. Parrish
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